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                   EXHIBIT B
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        IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                 DISTRICT OF ILLINOIS EASTERN DIVISION

JAMES BRAND, BARRY FARMER,                        )
MARK GRAHAM, KEVIN JACKSON,                       )
MICHAEL JACKSON, JOSE VIGIL, and                  )
CHRISTOPHER WOODARD,                              )
                                                  )   Case No. 12-cv-1122
                      Plaintiffs,                 )
                                                  )
               v.                                 )   Magistrate Judge Young B. Kim
                                                  )
COMCAST CORPORATION and                           )
COMCAST CABLE                                     )
COMMUNICATIONS MANAGEMENT,                        )
LLC,                                              )
              Defendants.


                         [PROPOSED] ORDER AND JUDGMENT

      UPON CONSIDERATION of the Parties’ Joint Motion for Approval of Settlement, it is

hereby ORDERED that the Motion is GRANTED as follows:

      (1) the Parties’ proposed Settlement is approved, including the releases of
      claims, the payments to Plaintiffs, and payment of attorneys’ fees and costs as set
      forth therein;

      (2) the action is dismissed in its entirety without prejudice, which will convert to
      with prejudice once the settlement is funded by Defendants; and

      (3) this Court retains jurisdiction until 31 days after the date this Order is entered
      to enforce the terms of the Settlement, including the release of claims.




Date: _________________________                       ________________________________
                                                      The Hon. Young B. Kim
                                                      United States Magistrate Judge
